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98027
                                  UNITED STATES DISTRICT COURT
                                  SOUTHERN DISTRICT OF INDIANA
                                      INDIANAPOLIS DIVISION

JOSE D. CERVANTES,

              Plaintiff,

              v.                                           CAUSE NO. 1:21-cv-2686

MENARD, INC.,

              Defendant.

                              PETITION FOR REMOVAL OF ACTION

         Defendant, Defendant, Menard, Inc. (“Menard”), by counsel, and for its Petition for

Removal of Action, states as follows:

         1.        On August 31, 2021, Plaintiff filed his Complaint against Defendant in the Marion

County Superior Court, Civil Division 12 of Indiana under Cause Number 49D12-2108-CT-

29439.

         2.        In his Complaint, Plaintiff alleges that on April 19, 20212, he was an invitee on the

Menard store premises when he was injured.

         3.        Plaintiff alleges that he sustained damages as a result of an incident at the Menard

store.

         4.        Plaintiff is a citizen of the State of Indiana.

         5.        Defendant is incorporated under the laws of the State of Wisconsin with its

principal place of business in Eau Claire, Wisconsin.

         6.        Defendant contends that this cause is removable under 28 U.S.C. § 1332 and none

of the impediments to removal under 28 U.S.C. § 1445 are present in this action.
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        7.     Defendant certifies that to the best of its knowledge, information and belief, the

amount in controversy exceeds Seventy-Five Thousand Dollars ($75,000.00), exclusive of interest

and costs, as Plaintiff’s Complaint has a prayer for damages alleging that Defendant breached its

duty to Plaintiff causing him to “incur medical expenses for medical care and treatment and may

incur additional medical expenses in the future”. Further, Plaintiff alleges he “has lost income and

may continue to lose income in the future”.

        8.     Furthermore, Plaintiff’s counsel confirmed via email that Plaintiff is still seeking

medical treatment and incurring medical expenses and therefore is unable to stipulate that

Plaintiff’s damages do not exceed $75,000.

        9.     Defendant was served with Plaintiff’s Complaint by certified mail on October 12,

2021.

        10.    This Petition for Removal is being filed with the Court within thirty (30) days after

determining that the basis for diversity jurisdiction exists.

        11.    Copies of all pleadings filed in the state court action that are in the possession of

Defendant are attached as “Exhibit A”.

        12.    Contemporaneously, a written notice is being provided to all adverse parties and to

the Clerk of the Marion County Superior Court, Civil Division 12 that this Petition of Removal is

being filed in this Court.

        WHEREFORE, Defendant, Menard, Inc., prays that the entire state court action pending

in the Marion County Superior Court, Civil Division 12 of Indiana, under Cause Number 49D12-

2108-CT-29439, be removed to this Court for all further proceedings.

        Dated: October 20, 2021




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                                             Respectfully submitted,

                                             KOPKA PINKUS DOLIN PC


                                             By: /s/ Jessica N. Hamilton
                                                 Jessica N. Hamilton, Atty No. 34268-71
                                                 Attorney for Defendant


                                CERTIFICATE OF SERVICE

       I hereby certify that on the 20th day of October, 2021, the foregoing has been filed through
the Court’s ECF system and notice has been electronically served on all counsel of record.

Valerie Loya
HENSLEY LEGAL GROUP
117 E. Washington St., Suite 200
Indianapolis, IN 46204
Attorney for Plaintiff


                                               /s/ Jessica N. Hamilton


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